                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

RE: T-MOBILE CUSTOMER DATA               MDL No. 3019
SECURITY BREACH LITIGATION
                                         Master Case No. 4:21-MD-03019-BCW

This Document Relates to:

DEMETRIS HILL,                           W.D. Mo. Case No. 2:21-cv-04164-NKL

      Plaintiff,

v.

T-MOBILE USA, INC.

      Defendant.

And

DAVID WINKLER,                           S.D. TX. Case No. 21-cv-00322
      Plaintiff,

v.

T-MOBILE USA, INC.

      Defendant.

And

STEPHANIE PERALTA,
                                         W.D. OK. Case No. 21-cv-00838
      Plaintiff,

v.

T-MOBILE USA, INC.


       Defendant.

And

NORMA SAVICK,
                                         U.S.D.C District of New Jersey Case No. 21-cv-
       Plaintiff,                        16005

           Case 4:21-cv-00884-BCW Document
                                       1 13 Filed 03/18/22 Page 1 of 2
 v.

 T-MOBILE USA, INC.,

         Defendant.




                  NOTICE OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)

       Demetris Hill, David Winkler, Stephanie Peralta and Norma Savick, pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), hereby dismiss their claims filed in the above referenced individual cases,

which were originally file in the United States District Court for the Western District of Missouri, Southern

District of Texas, Western District of Oklahoma and the District of New Jersey, then transferred to this

District and consolidated for pretrial purposes. No answer or motion for summary judgment has been filed.

This dismissal is without prejudice.


                                                             Respectfully submitted,

                                                             s/William B. Federman
                                                             William B. Federman, OBA No. 2853
                                                             FEDERMAN & SHERWOOD
                                                             10205 N. Pennsylvania
                                                             Oklahoma City, OK 73102
                                                             Telephone: (405) 235-1560
                                                             Facsimile: (405) 239-2112
                                                             wbf@federmanlaw.com
                                                             Attorney for Plaintiffs




                                       CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2022 a copy of the foregoing was filed electronically. Service of

this filing will be made on all ECF-registered counsel by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.

                                                    /s/William B. Federman
                                                    William B. Federman
              Case 4:21-cv-00884-BCW Document
                                          2 13 Filed 03/18/22 Page 2 of 2
